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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
SEAPORT GLOBAL HOLDINGS LLC,
                                   Petitioner,                           19 CIVIL 9347 (ER)

                 -against-                                           AMENDED JUDGMENT

PETAQUILLA MINERALS LTD.,
                                    Respondent.
----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Orders dated May 27, 2020 and June 23, 2020, the petitioners’ motion is

granted in part and denied in part; the arbitration award is confirmed, and judgment is entered in

favor of petitioners in the amount of $2,972,833.31 pursuant to the arbitrator’s final award;

Seaport’s motion is granted, prejudgment interest on the final award at the rate of 9% per annum

from April 22, 2019 to May 27, 2020 amounts to $293,043.88, plus $5,010.35 in attorney’s fees

and costs, for a total sum of $3,271,787.64; the judgment shall accrue post-judgment interest as

mandated in 28 U.S.C. § 1961; accordingly, the case is closed.


Dated: New York, New York
       June 24, 2020

                                                         RUBY J. KRAJICK
                                                   _________________________
                                                           Clerk of Court
                                                 BY:
                                                   _________________________
                                                           Deputy Clerk
